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       OBJECTOR             COUNSEL                                          TESTIMONY
18. Josie Saik           George Cochran         •   Papers filed “pro se” but Objector is actually represented by Cochran,
                                                    a serial objector 
                                                •   Objector is counsel’s sister’s friend 
                                                •   Objector testified that she was motivated to object, in part, to make
                                                    more money than an individual class member will receive
                                                     
19. Elizabeth Kimberly   Charles M.             •   Objector provided an improper address in her objection (filed in pro
    Johnson              Thompson                   per) that seriously delayed the service of the subpoena directed to
                                                    Objector 
                                                •   Objector’s deposition will not be taken until November 19, 2015
                                                    because Objector claims, through Thompson, to be unavailable until
                                                    then
                                                •   Serial objector Thompson is engaged to be married to the Objector,
                                                    assisted her with her papers, accepted service of the subpoena on her
                                                    behalf, and, on the morning of Ms. Johnson’s deposition, admitted
                                                    that he represents her 




                                                      vii
                            Appendix O – Objection Deposition Testimony Highlights
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1                          UNITED STATES DISTRICT COURT
2                        NORTHERN DISTRICT OF CALIFORNIA
3                            SAN FRANCISCO DIVISION
4
5
        IN RE:      CATHODE RAY TUBE (CRT)
6       ANTITRUST LITIGATION,
                                                            No. 3:07-cv-5944
7                                                               MDL NO. 1917
        This Document Relates to:
8       All Indirect Purchaser Actions
        ________________________________________________________
9
10
11
12
13                           DEPOSITION OF JOSIE SAIK
14                            San Dimas, California
15                          Monday, November 16, 2015
16
17
18
19
20
21
22      Reported by:
        VALERIE D. GRANILLO
23      CSR No. 11469
24
25

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                                                                   Page 10

1       versus perhaps other cases?

2            A      Because I'm one of the people that bought a

3       television.

4            Q      Okay.   And have you filed a claim for -- in this

5       case asking for money back for the TV that you purchased?

6            A      No.

7            Q      Do you intend to do so?

8            A      I believe the attorney will handle the right

9       paperwork that needs to get processed.

10           Q      And that attorney is who?

11           A      Mr. Cochran.

12           Q      Do you know where Mr. Cochran's offices are?

13           A      In Ohio.

14           Q      And how did you come in contact with Mr. Cochran?

15           A      He's the brother of a friend.

16           Q      Okay.   And is the friend here in California?

17           A      Yes.

18           Q      And who's that friend?

19           A      Barbara Cochran.

20           Q      And how long have you known Barbara Cochran?

21           A      Since 1981.

22           Q      And did you speak to Ms. Cochran about the CRT

23      case before speaking with her brother?

24           A      Oh, yes.

25           Q      And tell me about that conversation.        How did

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                                                                       Page 11

1       that come about?        What'd you say and what did she say?

2            A      We talk regularly, and she said, "Hey, did you

3       ever have one of these TVs?" and she listed them.                 And I

4       said, "Yeah."       "When did you buy it?"            And I said, "Well,

5       remember when I -- when we were on Maryland Way, so I

6       think like '97/'98."        She says, "Oh, my gosh.           Do you know

7       what happened there?"        And she proceeded to tell me the

8       story, and she said that her brother was handling it.                 And

9       I said, "Well, could you have him contact me?                 I'd like to

10      talk to him."       So he e-mailed me.

11           Q      Okay.

12           A      Yeah.

13           Q      And did Ms. Cochran explain to you that she felt

14      that there was some unfairness or something wrong with the

15      settlement in that discussion?

16           A      No, no.     She didn't have an opinion on it.           She

17      just wanted me to know about it.

18           Q      And then you say that Mr. Cochran then e-mailed

19      you or you e-mailed him?          I forgot what you said.

20           A      I asked Barbara to have him contact me, call or

21      e-mail.     And he e-mailed me.

22           Q      Okay.     And have you hired Mr. Cochran to

23      represent you in this case?

24           A      Yes.

25           Q      And what are the terms of that engagement?              What

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1                   MR. COCHRAN:      Sure.

2                   MR. HULETT:      And it also includes proof of

3       delivery of the document and also the certified mail

4       certificate.        Okay.

5                   MR. COCHRAN:      Right, okay.

6                   MR. HULETT:      So it's the whole submission of

7       documents.

8                   MR. COCHRAN:      All right.

9                   (Exhibit 1 was marked for identification by

10                  the court reporter and is attached hereto.)

11      BY MR. HULETT:

12           Q      You filed this appearing pro se, according to the

13      documents.     You see that on the cover page?

14           A      I'm looking.

15           Q      At the very top.

16           A      Yes.

17           Q      You said "appearing pro se" under your name.              Do

18      you know what pro se means?

19           A      My Latin is rusty.         If you give me the English

20      term, I can verify if that's what I agree on.

21           Q      Who drafted these documents?

22           A      Mr. Cochran presented it to me.            I'm assuming

23      either himself or one of the staff.

24           Q      Okay.

25           A      I didn't.

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                                                                     Page 18

1       said, "Come to the lobby.         I'd like you to meet my

2       brother."

3             Q     Okay.    Any other times?

4             A     No.

5             Q     Okay.    Are you currently employed?

6             A     Yes.

7             Q     With whom?

8             A     I'm at Bishop Amat Memorial High School, which is

9       part of the Archdiocese of Los Angeles.

10            Q     And how long have you been employed with Bishop

11      Amat?

12            A     29 years for the archdiocese.            I've been at the

13      Bishop Amat location for about eight years.

14            Q     And what's your job responsibility or title?

15            A     I'm the registrar.

16            Q     If your objection is sustained by the court, do

17      you have any expectation that you personally will receive

18      any money in addition to the amounts you'd otherwise get

19      as a class member?

20            A     When you say "sustained," does that mean a yes or

21      no?

22            Q     Yes.    It means yes.

23            A     I kind of remember that from Perry Mason, but I

24      don't remember.

25            Q     And that's a perfect example of asking for

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                                                                     Page 19

1       clarification because it's using a technical term.

2              A     Sustained.    So would I get money while -- well,

3       they're supposed to give us $25.

4              Q     Correct.

5              A     Right.

6              Q     And you get that regardless of whether your

7       objection is sustained or not?

8              A     Right.

9              Q     And I'm trying to understand, do you have an

10      understanding that if your objection is agreed with by the

11      court that you would receive something in addition to the

12      $25?

13             A     I would, yes.

14             Q     And what do you expect to receive in addition?

15             A     I don't expect anything.           I've looked at other

16      cases.      It could be anywhere from tens, hundreds or even

17      thousands of dollars.        I don't expect anything.         I just

18      want the right thing to happen.

19             Q     But as one of the events, in the event that the

20      court were to sustain and agree with your objection, you

21      would be making a request for additional monies, correct?

22             A     Yes.

23             Q     Okay.    And is that one of the reasons that you've

24      decided to object in the case?

25             A     My main reason is for to go the right way for

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                                                                   Page 20

1       that, justice.        But money doesn't hurt.

2            Q      Right.

3            A      It doesn't hurt at all.

4            Q      And has Mr. Cochran promised to pay you any

5       amounts of money regardless of the outcome your objection?

6            A      No, no.

7            Q      Has he agreed to split with you any of the fees

8       that he may request?

9            A      No.

10                  You still there, George?

11                  MR. COCHRAN:     I'm awake.

12                  THE WITNESS:     Okay.

13                  MR. HULETT:     I told you I don't ask objectionable

14      questions.

15           Q      Now, you indicated earlier that you just want the

16      award of attorney's fees to be reasonable and fair and

17      that you think 33 percent is unreasonable and unfair,

18      correct?

19           A      Yes.

20           Q      And do you have an opinion as to what amount

21      would be fair?

22           A      No.

23           Q      In the event that the court does sustain -- let

24      me rephrase the question.

25                  In the event that the court does not accept your

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                                                                   Page 31

1                        I, the undersigned, a Certified Shorthand

2       Reporter of the State of California, do hereby

3       certify:

4                        That the foregoing proceedings were taken

5       before me at the time and place herein set forth;

6       that any witnesses in the foregoing proceedings,

7       prior to testifying, were administered an oath; that

8       a record of the proceedings was made by me using

9       machine shorthand which was thereafter transcribed

10      under my direction; that the foregoing transcript is

11      a true record of the testimony given.

12                       Further, that if the foregoing pertains to

13      the original transcript of a deposition in a Federal

14      Case, before completion of the proceedings, review

15      of the transcript [ ] was [ ] was not requested.

16                       I further certify I am neither financially

17      interested in the action nor a relative or employee

18      of any attorney or any party to this action.

19                       IN WITNESS WHEREOF, I have this date

20      subscribed my name.

21      Dated: November 18, 2015.

22

23                            <%signature%>

24                        VALERIE D. GRANILLO

25                          CSR No. 11469

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1                    UNITED STATES DISTRICT COURT FOR THE
2                       NORTHERN DISTRICT OF CALIFORNIA
3
4       CIVIL ACTION NUMBER:           07-CV-05944-SC; MDL NO. 1917
5
6       IN RE:
7                    CATHODE RAY TUBE (CRT)
8                    ANTITRUST LITIGATION,
9                           Plaintiff,
10                          vs.
11                   THIS DOCUMENT RELATES TO:
12                   ALL INDIRECT ACTIONS,
13                          Defendant.
14
15      DEPOSITION OF:          Elizabeth Kimberly Johnson
16      DATE:       November 19, 2015
17      TIME:       1:42 p.m.
18      PLACE: Wiggins, Childs, Pantazis, Fisher & Goldfarb
19                   The Kress Building
20                   301 19th Street North
21                   Birmingham, Alabama, 35203
22
23
24
25

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1                              ELIZABETH JOHNSON,

2       being first duly sworn, was examined and testified as

3       follows:

4

5       EXAMINATION BY MS. WEDGWORTH:

6

7                   Q.    Could you state your name for the record?

8                   A.    Elizabeth Kimberly Johnson.

9                   Q.    Ms. Johnson, what is your home address?

10                  A.    82 Standifer Drive, Odenville.

11                  Q.    Do you presently reside there?

12                  A.    Not at the moment.

13                  Q.    Where do you presently reside?

14                  A.    1221 Berwick Road, Hoover.

15                  Q.    Is that 35242?

16                  A.    35242, yes.

17                  Q.    For the purposes of this litigation, if

18      someone needs to find you, is 1221 Berwick Road --

19                  A.    For the time being, yes.

20                  Q.    Do you know how long you'll be at that

21      location?

22                  A.    No, I don't.

23                  Q.    Does someone live at 82 Standifer Drive?

24                  A.    My sons.

25                  Q.    Your sons currently live there; is that

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1                   Q.      Have you been involved in any litigation
2       or lawsuit?
3                   A.      Divorce.
4                   Q.      Other than divorce?
5                   A.      No.
6                   Q.      Okay.      Do you have an attorney today?
7                   A.      Yes.
8                   Q.      Who is your attorney?
9                   A.      Charles Thompson.
10                  Q.      Do you also have any other relationship
11      with Mr. Thompson?
12                  A.      He is my fiancé.
13                  Q.      How long have you been engaged?
14                  A.      May 8th.
15                  Q.      Of this year?
16                  A.      Last year.
17                  Q.      Okay.      So, May 8th, 2014?
18                  A.      Uh-huh.
19                  Q.      And how did it come about that
20      Mr. Thompson is representing you in this matter?
21                          MR. THOMPSON:           We live together
22      sometimes.       Duh.
23                  Q.      (BY MS. WEDGWORTH)                Sadly, I have to ask
24      you the questions and not your fiancé slash attorney.
25                  A.      Because I know him and he is my fiancé

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1       and I trust him.

2                   Q.    Okay.    Okay.     Is your current phone

3       number 205-500-2496?

4                   A.    Yes.

5                   Q.    Is that the best way to reach you?

6                   A.    Yes.

7                   Q.    Is there any other way to reach you by

8       phone?

9                   A.    No.

10                  Q.    And do you have an email address that you

11      can be reached?

12                  A.    Yes.

13                  Q.    What is that email address?

14                  A.    Lilredsunshine.

15                  Q.    I'm sorry?

16                  A.    Redsunshine1964@yahoo.com.

17                  Q.    Ms. Johnson, are you aware of the fact

18      that we tried to serve a subpoena on you at the

19      Standifer Drive address?

20                  A.    I have heard.

21                  Q.    And have you seen the subpoena in this

22      case?

23                  A.    No, I have not.

24                  Q.    You haven't seen any document

25      concerning --

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1                   A.     I don't recall.
2                   Q.     Do you understand what you've done in
3       this litigation, what papers you've filed in this
4       litigation, if any?
5                   A.     I did file a piece of paper that I wrote
6       myself, and then, he refined.
7                          MR. THOMPSON:          When you say he, it would
8       be good --
9                   A.     My --
10                         MR. THOMPSON:          -- if you said my --
11                  A.     My --
12                         MR. THOMPSON:          -- name or something.
13                  A.     -- fiancé refined for me.
14                  Q.     (BY MS. WEDGWORTH)               Do you have an
15      understanding of what that document is called or
16      referred as?
17                  A.     An objection.
18                  Q.     Whose idea was it to file the objection?
19                  A.     It was my thought, and I discussed it
20      with him as to what could be done.
21                  Q.     Now, I think you said you wrote on a
22      piece of paper, and then, your fiancé refined it for
23      you.    What did you write on the piece of paper?
24                  A.     That's been a long time ago.               I don't --
25      I don't really recall what my exact words were.

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                                                                     Page 45

1       want that.

2                   A.     I would say within the week.

3                   Q.     Of October 16th?

4                   A.     Of October 16th.

5                   Q.     Is this the document that Christie typed?

6                   A.     Yes.

7                   Q.     And in October of 2015, were you living

8       on Berwick Road?

9                   A.     Yes.

10                  Q.     Is there a reason that you listed your

11      current address as Standifer Drive in Odenville?

12                  A.     That is my address.           That is where I've

13      lived.      I'm -- that's my address.

14                  Q.     You said you live there or it's just your

15      address?

16                  A.     That's my legal address.

17                  Q.     Okay.     But you were living on Berwick in

18      October?

19                  A.     Yes.    Convalescing.

20                  Q.     If we look at the first page and you go

21      to the first big paragraph kind of in the middle of the

22      page that begins my primary --

23                  A.     Uh-huh.

24                  Q.     -- that first sentence says, my primary

25      objection is that the information about making the claim

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                                                                   Page 59

1                     C E R T I F I C A T E

2       STATE OF ALABAMA        )

3       JEFFERSON COUNTY        )

4

5                         I hereby certify that the above and

6       foregoing deposition was taken down by me in stenotype,

7       and the questions and answers thereto were transcribed

8       by means of computer-aided transcription, and that the

9       foregoing represents a true and correct transcript of

10      the testimony given by said witness upon said hearing.

11                            I further certify that I am neither of

12      counsel, nor of kin to the parties to the action, nor am

13      I an anywise interested in the result of said cause.

14

15

16

17

18                              s/s Michelle L. Parvin

19                                      MICHELLE L. PARVIN

20                         Certified Court Reporter

21                                    License Number 126

22                              Commission expires 9/30/16

23                             Notary Public expires 1/26/18

24

25

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